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  6                             UNITED STATES BANKRUPTCY COURT

  7                                      DISTRICT OF ARIZONA
      In re:                                                           Chapter 13 Case
  8
      GUADALUPE C. BACHELIER,
                                                                   No. 4:17-bk-00661-SHG
  9
               Debtor,
 10                                                        STIPULATED ORDER CONFIRMING
                                                          THIRD AMENDED CHAPTER 13 PLAN
 11
          The Third Amended Chapter 13 Plan (the “Plan” at docket 87) having been properly noticed
 12   out to creditors and any objection to confirmation having been resolved,

 13         IT IS ORDERED confirming the Third Amended Plan of the Debtor as follows:

 14   (A)      INCOME SUBMITTED TO THE PLAN. Debtor shall submit the following amounts of
               future income to the Trustee for distribution under the Plan.
 15
               1) Future Earnings or Income. Debtor shall make the following monthly Plan payments:
 16
                  Months     Amount
 17
                  1          $0
 18               2          $776
                  3–5        $388
 19               6          $0
                  7          $776
                  8 - 17     $388
 20               18         $0
                  19         $776
 21               20 – 21    $388
                  22         $812
 22               23         $802
                  24         $0
 23               25         $802
                  26         $1,322.18
 24               27 – 60    $661.09
 25               The payments are due on or before the 1st day of each month commencing February 24,
                  2017. Debtor is instructed to remit all payments on or before the stated due date each
 26
                  month. Debtor is advised that when payments are remitted late, additional interest may


Case 4:17-bk-00661-SHG        Doc 171 Filed 01/28/21 Entered 01/28/21 10:44:17              Desc
                               Main Document    Page 1 of 5
                                     accrue on secured debts, which may result in a funding shortfall at the end of the Plan
                     1               term. Any funding shortfall must be cured before a discharge can be entered. This
                     2               requirement is effective regardless of plan payment suspensions, waivers or
                                     moratoriums, and must be included in any Stipulated Order Confirming. Any funding
                     3               shortfall must be cured before the plan is deemed completed.

                     4               The Debtors shall provide, directly to the Trustee copies of their federal and state
                                     income tax returns for post-petition years within 14 days of filing them. The purpose is
                     5               to assist the Trustee in determining any change in debtor’s annual disposable income.
                     6            2) Other Property. If the Debtor receives a tax refund in excess of $1,000, the debtors
                                     shall pay such refund directly to the Trustee as supplements to the plan. In the event
                     7
                                     that other property is submitted, it shall be treated as supplemental payments. In no
                     8               event will the term of the Plan be reduced to less than 36 months, exclusive of any
                                     property recovered by the Trustee, unless all allowed claims are paid in full.
                     9
                            (B)   DURATION. This Plan shall continue for 60 months from the first regular monthly
                   10             payment described in Paragraph (A) (1) above. If at any time before the end of the Plan
                                  period all claims are paid, then the Plan shall terminate.
                   11
                            (C)   CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified and
                   12             paid as listed below. The Plan and this Order shall not constitute an informal proof of
                                  claim for any creditor. The Trustee shall receive the percentage fee on the Plan payments
                   13             pursuant to 28 U.S.C. § 586(e), then the Trustee will pay creditors in the following order:
                   14             1) Administrative expenses:
                   15                Attorney Fees. Scott D. Gibson, shall be allowed total compensation of $2,000 having
                                     received $2,000 attorney’s fees prior to filing this case. Alan R. Solot will be paid
                   16                $2,500 by the Chapter 13 Trustee.

                   17                Flat Fee. Attorneys for the Debtor have agreed to a total sum of $4,500 to represent the
                                     Debtor. Alan R. Solot has agreed to perform the following services through
                   18                confirmation of the plan

                   19                All of the below, except Additional Services.
                                     Review of financial documents and information.
                   20                Consultation, planning, and advice, including office visits and telephone
                                     communications.
                   21                Preparation of Petition, Schedules, Statement of Financial Affairs, Master Mailing List.
                                     Preparation and filing of Chapter 13 Plan, Plan Analysis, and any necessary
                   22                amendments.
                                     Attendance at the § 341 meeting of creditors.
                                     Resolution of creditor objections and Trustee recommendations, and attendance at
                   23                hearings.
                                     Reviewing and analyzing creditor claims for potential objections, and attendance at
                   24                hearings.
                                     Responding to motions to dismiss, and attendance at hearings.
                   25                Responding to motions for relief from the automatic stay, and attendance at hearings.
                                     Drafting and mailing of any necessary correspondence.
                   26                Preparation of proposed order confirming the plan.
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                Case 4:17-bk-00661-SHG            Doc 171 Filed 01/28/21 Entered 01/28/21 10:44:17                Desc
                                                   Main Document    Page 2 of 5
Case 4:17-bk-00661-SHG   Doc 171 Filed 01/28/21 Entered 01/28/21 10:44:17   Desc
                          Main Document    Page 3 of 5
Case 4:17-bk-00661-SHG   Doc 171 Filed 01/28/21 Entered 01/28/21 10:44:17   Desc
                          Main Document    Page 4 of 5
Case 4:17-bk-00661-SHG   Doc 171 Filed 01/28/21 Entered 01/28/21 10:44:17   Desc
                          Main Document    Page 5 of 5
